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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                               (Baltimore Division)

JUDICIAL WATCH, INC. ,                            *

                                                  *
              Plaintiff,
v.                                                *      Case No.: 17-cv-02006-ELH

LINDA H. LAMONE, et al.,                          *

                                                  *
              Defendants.

*      *      *      *      *      *      *       *      *      *      *      *      *

                         MEMORANDUM OF LAW
                   IN SUPPORT OF STATE DEFENDANTS’
           MOTION TO DISMISS PLAINTIFF'S COMPLAINT OR, IN THE
                ALTERNATIVE, FOR SUMMARY JUDGMENT

       Defendants Linda H. Lamone, State Administrator of Elections; David J. McManus,

Jr., Chairman, Maryland State Board of Elections; Patrick J. Hogan, Vice-Chairman,

Maryland State Board of Elections; Michael R. Cogan, Member, Maryland State Board of

Elections; Kelley A. Howells, Member, Maryland State Board of Elections; Gloria Lawlah,

Member, Maryland State Board of Elections; and Jared DeMarinis, Public Information

Officer, Maryland State Board of Elections; all sued in their official capacities (the “State

Defendants”), by their undersigned attorneys, submit this Memorandum of Law in support

of their Motion to Dismiss Plaintiff’s Complaint or, in the Alternative, for Summary

Judgment.
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                                     INTRODUCTION

       This case is an attempt by Judicial Watch, Inc. (“Judicial Watch” or “Plaintiff”), a

non-profit corporation formed under the laws of the District of Columbia, to obtain a list

of every registered voter in Montgomery County, including the name, date of birth, home

address, most recent voter activity and active or inactive status for each voter. Maryland

law limits access to voter registration lists to Maryland registered voters who pay a modest

duplication fee and agree not to use the list for commercial or other purposes unrelated to

the electoral process—conditions that Judicial Watch is unable or unwilling to satisfy.

Instead, Judicial Watch claims that it is entitled to the voter registration list pursuant to the

National Voter Registration Act (“NVRA”), 52 U.S.C. § 20507(i)(1), which provides for

access to records concerning the implementation of “programs and activities” carried out

to maintain the accuracy of voter registration lists. As demonstrated below, Judicial Watch

is not entitled to the voter list because the plain language of the NVRA does not require

disclosure of the list, which does not itself speak to the sufficiency of the “programs and

activities” that the NVRA requires. Accordingly, Judicial Watch’s Complaint should be

dismissed.


                     THE ALLEGATIONS IN THE COMPLAINT

       1.     Plaintiff is a non-profit corporation that purports to “promote transparency,

integrity, and accountability in government” by demanding records from local and state

government and then using those records to further its political objectives. See Complaint,

¶ 5.



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       2.     Among the information that Plaintiff typically demands from local and state

governments are records related to voter registration. Complaint, ¶ 5.

       3.     Plaintiff allegedly uses this voter registration information to determine

whether jurisdictions are “properly maintaining accurate voter rolls” and by bringing

lawsuits against local and state governments that it does not believe are complying with

the NVRA. Complaint, ¶ 5.

       4.     In the instant case, Plaintiff claims that the State of Maryland and

Montgomery County are not complying with NVRA because there are “more registered

voters in Montgomery County that there were citizens over the age of 18.” Complaint, ¶

12.

       5.     Based on this assumption, Plaintiff on or about April 11, 2017 demanded

certain records from the Maryland State Board of Elections (“SBE”) pursuant to § 8(i) of

the NVRA, 52 U.S.C. § 20507(i). Complaint, ¶¶ 15-16.

       6.     Specifically, Plaintiff demanded “all pertinent records concerning the

‘implementation of programs and activities conducted for the purpose of ensuring the

accuracy and currency’ of Maryland’s official eligible voter lists during the past 2 years.”

Complaint, ¶ 15.

       7.     Among other things, Plaintiff’s demand sought “Copies of the most recent

voter registration database from Montgomery County, Maryland, including fields

indicating name, date of birth, home address, most recent voter activity, and active or

inactive status.” Complaint, ¶ 16.




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       8.     On June 5, 2017, Linda Lamone, administrator of the SBE, responded in

writing, explaining that Plaintiff’s assertion that there are “more registered voters in

Montgomery County that there were citizens over the age of 18” was based on faulty

analysis of data and did not support the conclusion that Maryland’s list-maintenance

program violated the NVRA. Complaint, ¶ 19. A copy of that letter is attached hereto as

Exhibit 1.1

       9.     Ms. Lamone also explained the many ways in which Maryland’s list-

maintenance program fully complies with federal law. Exhibit 1; Complaint, ¶ 19.

       10.    In addition, on or about July 7, 2017, the SBE advised Plaintiff that the

documents it requested were available for review with the exception of the Montgomery

County voter list. Complaint, ¶¶ 21-22.

       11.    The SBE declined to provide the Montgomery County voter list because the

request was not made in compliance with Maryland law. Complaint, ¶ 22.

       12.    Shortly thereafter, Plaintiff filed the instant lawsuit for injunctive and

declaratory relief, plus attorneys’ fees and costs.




       1
         The Court is permitted to consider Ms. Lamone’s June 5, 2017 letter because it is
referred to in the Complaint. Complaint, Doc. 1, ¶¶ 19-20; HQM, Ltd. v. Hatfield, 71
F. Supp. 2d 500, 502 (D. Md. 1999).


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                                       ARGUMENT

I.     PLAINTIFFS’ COMPLAINT SHOULD BE DISMISSED OR, ALTERNATIVELY,
       SUMMARY JUDGMENT SHOULD BE GRANTED IN FAVOR OF THE STATE
       DEFENDANTS.

       To survive a motion to dismiss, a complaint must contain “enough facts to state a

claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

570 (2007). Although the Court must accept well-pled factual allegations in a complaint as

true, it is not required to accept conclusory factual allegations. Id.; Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009); Society Without A Name v. Virginia, 655 F.3d 342, 346 (4th Cir.

2011). Nor is the Court required to consider unsupported legal conclusions or legal

conclusions disguised as factual allegations. Iqbal, 556 U.S. at 678 (“Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, [similarly]

do not suffice,” because “we are not bound to accept as true a legal conclusion couched as

a factual allegation.”); Society Without a Name, 655 F.3d at 346 (same). Therefore, a

plaintiff cannot rely on unsupported legal conclusions, legal conclusions couched as factual

allegations, or conclusory factual allegations devoid of any reference to actual events.

Iqbal, 556 U.S. at 678. Rather, the complaint must contain direct and plausible allegations

respecting all material elements necessary to sustain recovery under a viable legal theory.

Twombley, 550 U.S. at 570.

       Summary judgment must be granted where there is no dispute as to material fact

and the moving party is entitled to judgment as a matter of law. Runnebaum v. Nationsbank

of Md., 123 F.3d 156, 163 (4th Cir. 1997). In order to survive a properly supported motion

for summary judgment, the non-moving party must present evidence from which a


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reasonable fact-finder could return a verdict in its favor. Monsanto Co. v. Spray-Rite Serv.

Corp., 465 U.S. 752, 768 (1984). The mere existence of some disputed fact does not

require denial of the motion. Thompson Everett, Inc. v. National Cable, 57 F.3d 1317,

1322 (4th Cir. 1995). Rather, the disputed facts must be material to an issue necessary for

resolution of the case and the quality and quantity of the evidence offered to create a

question of fact must be adequate to support a verdict. Id.

       Maryland law prohibits disclosure of the voter registration list to Judicial Watch.

Maryland’s election statute limits disclosure of voter lists to “Maryland registered voter[s]”

who certify under oath that the list is not intended to be used for commercial solicitation

or “any other purpose not related to the electoral process.” Md. Code Ann., Elec. Law §

3-506(a)(1). As alleged in the Complaint, Plaintiff is a corporation formed under the laws

of the District of Columbia and therefore is not a registered voter. Complaint, ¶¶ 5; 24.

Moreover, there is no allegation in the Complaint that Plaintiff provided a certification

under oath that the list is not being sought for commercial solicitation or another purpose

not related to the electoral process. Complaint, ¶¶ 1-37. Plaintiff has all but conceded that

it is not entitled to the list under Maryland law.

       Instead, Plaintiff alleges that Maryland’s state-law restrictions of access to voter

registration lists is preempted by the NVRA and is therefore unenforceable. Complaint, ¶¶

32-34. The Complaint asserts a claim that the NVRA requires the disclosure of voter

registration lists and that SBE violated the Act by declining to provide Plaintiff with access

to the database of registered voters in Montgomery County with all of its embedded

personal information, including the “name, date of birth, home address, most recent voter


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activity and active or inactive status” for each voter. Complaint, ¶ 16. The claims in the

Complaint should be dismissed because Plaintiff is not entitled to the voter list under the

NVRA.


       A.     The NVRA and its List-Maintenance Requirements

       The NVRA was enacted to “dramatically expand opportunities for voter

registration.” Welker v. Clarke, 239 F.3d 596, 598-99 (3rd Cir. 2001); see 52 U.S.C.

§ 20501(b) (describing as one of the purposes of the Act increasing “the number of eligible

citizens who register to vote” in federal elections). The law—sometimes referred to as the

Motor-Voter Law—advances voting rights by requiring state governments to offer voter

registration opportunities to any eligible person who applies for or renews a driver’s

license, 52 U.S.C. § 20504, or applies for public assistance, 52 U.S.C. § 20506.

       At the same time that it expands the voter rolls, the NVRA requires States to take

steps to ensure that “accurate and current voter registration rolls are maintained.” 52

U.S.C. § 20501(b). The NVRA carefully restricts, however, the removal of names from the

rolls, and imposes “multiple constraints on how the states may go about doing so.”

A. Philip Randolph Inst. v. Husted, 838 F.3d 699, 705-06 (6th Cir. 2016), cert. granted,

137 S. Ct. 2188 (2017). For example, NVRA identifies only four grounds on which a

voter’s name may be removed from the rolls: “at the request of the registrant,” “by reason

of criminal conviction or mental incapacity” (as provided by state law), “the death of the

registrant,” or “a change in the residence of the registrant.” 52 U.S.C. § 20507(a)(3), (4);

see also U.S. Student Ass’n Found. v. Land, 546 F.3d 373, 376 (6th Cir. 2008); Welker,



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239 F.3d at 599 (stating that the NVRA “strictly limited removal of voters”). And—

significantly for this case—the NVRA requires States to wait two election cycles before

removing people who may have moved out of the jurisdiction. 52 U.S.C. § 20507(d)(1)(B).

       Although the NVRA spells out in some detail what the States may not do to “purge”

their voting rolls, it does not prescribe how the States must maintain the accuracy of their

voting lists. Instead, the NVRA requires only that States conduct a “general program that

makes a reasonable effort to remove the names of ineligible voters from official voter lists.”

52 U.S.C. § 20507(a)(4). The State’s program must be uniform and non-discriminatory,

and must comply with the Voting Rights Act, and may not remove voters by reason of their

failure to vote, 52 U.S.C. § 20507(b), but beyond that, federal law does not dictate the type

of program the States may implement to satisfy its list-maintenance responsibilities.

       The NVRA does, however, offer States a safe harbor: “A state may meet the

[subsection (a)(4) general program requirement] by establishing a program under which

. . . change of address information supplied by the Postal Service through its licensees is

used to identify registrants whose addresses may have changed.” 52 U.S.C. § 20507(c)(1).

States that choose to implement such a program—sometimes referred to as the National

Change of Address or “NCOA” program—must send the voter a notice of the reported

change of address and give the voter the opportunity confirm or correct the information

received from the Postal Service.

       To allow members of the public to determine whether a State is discharging its

responsibilities under the Act, the NVRA mandates public disclosure of certain records

related to a State’s list-maintenance program. Specifically, States


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            shall maintain for at least 2 years and shall make available for public
            inspection and, where available, photocopying at a reasonable cost,
            all records concerning the implementation of programs and
            activities conducted for the purpose of ensuring the accuracy and
            currency of official lists of eligible voters.

52 U.S.C. § 20507(i)(1) (emphasis added). Plaintiff contends that it is entitled to the

Montgomery County voter list under this provision.


       B.     The NVRA Requires the Disclosure of NCOA and other List-
              Maintenance Program Records, Not the Voter Registration Rolls and
              the Personal Information They Contain.

       It is well-established that when the words of a statute are plain and unambiguous,

courts are to enforce the statute as written. Stephens ex rel. R.E. v. Astrue, 565 F.3d 131,

137, 140, (4th Cir. 2009); Willenbring v. United States, 559 F.3d 225, 235 (4th Cir. 2009).

The statute at issue here, 52 U.S.C. § 20507(i)(1), requires only disclosure of records

concerning “the implementation of programs and activities conducted for the purpose of

ensuring the accuracy and currency of official lists of eligible voters.” 52 U.S.C. §

20507(i). This plain language does not require the disclosure of voter lists themselves, but

only records related to the implementation of programs and activities designed to ensure

the accuracy of those lists. This conclusion is further supported by guidance from the

United States Department of Justice, which does not identify lists of registered voters as

documents that need to be disclosed under 52 U.S.C. § 20507(i)(1).                      See

https://www.justice.gov/crt/national-voter-registration-act-1993-nvra (Question No. 40)

(attached hereto as Exhibit 2). Instead, the guidance clarifies that the States must make

available to the public “lists of the names and addresses of all persons to whom Section




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8(d) [change of address] notices are sent, and information concerning whether or not each

such person has responded to the notice.” Id.

       The State Defendants do not dispute that Plaintiff is entitled to documents related to

the implementation of its list-maintenance program, including the types of lists described

in the Department of Justice guidance. As set forth in the SBE’s June 5, 2017 letter to

Plaintiff, Maryland’s comprehensive list-maintenance program fits within the NVRA’s

“safe harbor” provision, which permits States to use change of address information

provided by the United States Postal Service to maintain accurate voter lists. Exhibit 1 at

1-2, citing 52 U.S.C. § 20507(c)(1)(A). Maryland’s list-maintenance program includes

other measures as well, such as processing voter requests to be removed from the rolls, Md.

Code Ann., Elec. Law § 3-501(1), coordinating with jury commissioners with respect to

people who decline jury service based on non-citizenship, who are deceased or have moved

out of state, Code of Maryland Regulations (“COMAR”) 33.05.06.06, and coordinating

with other States through the Electronic Registration Information Center—a consortium of

20 States and the District of Columbia that coordinate with one another to identify voters

who are registered in more than one jurisdiction. See Exhibit 1 at 4.

       As Plaintiff admits in its Complaint, SBE has already provided documents related

to Maryland’s list-maintenance program. Complaint, ¶ 21. The only information that

Plaintiff has not received is the voter list itself, which is not covered by the plain language

of § 20507(i)(1).

       If Plaintiff’s contention that the NVRA preempts Maryland’s election statute is

correct, any person or entity could obtain a list of registered voters, including all of its


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sensitive personal information, without any restriction on how the information could be

used. The Maryland legislature obviously was concerned about this very possibility when

it limited access to Maryland registered voters who pay a modest duplication fee and agree

not to use the list for commercial or other purposes unrelated to the electoral process. Md.

Code Ann., Elec. Law § 3-506(a)(1).

         Other States too have enacted laws restricting access to voter registration lists.

Many States, like Maryland, restrict who may request copies of the voter registration list.

Indiana, for example, limits access to campaign committees, certain elected and

governmental officials, and members of the press. See Ind. Code Ann. § 3-7-26.4-6; see

also www.elections.il.gov/votinginformation/computerizedvoterdata.aspx (Illinois limits

access to candidates and campaign committees). Many States charge fees, some quite

large.       See    sos.ga.gov/index.php/elections/order_voter_registration_lists_and_files

(Georgia, $250); Or. Rev. Stat. Ann. § 247.945 ($500); Ind. Code Ann. § 3-7-26.4-12

($5,000). And all States prohibit the use of voter registration data for commercial use. See

Samuel Derheimer, A State-by-State Analysis of Voter List Availability (Oct. 1, 2015)

(www.pewtrusts.org/en/research-and-analysis/analysis/2015/10/01/a-state-by-state-analysis-

of-voter-list-availability).   If Plaintiff prevails in this case, all of these legislative

restrictions would be wiped away, and any telemarketer or scam artist would be able to

obtain a list of voters in Maryland or elsewhere for commercial or other inappropriate uses.

         Had Congress intended to effect such a sweeping negation of state laws, it surely

would have done so expressly and not by implication, as plaintiffs maintain. This is

particularly the case since widespread public disclosure of the personal information within


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voting records would not serve the NVRA’s purpose of encouraging citizens to register to

vote. To the contrary, it has precisely the opposite effect. See Dartunorro Clark, Trump

Panel Prompts Thousands of Voters to Unregister Trump Panel Prompts Thousands of Voters

to Unregister (July 17, 2017) (www.nbcnews.com/politics/white-house/trump-panel-

prompts-thousands-voters-unregister-n783891) (noting how, after the Presidential

Advisory Commission on Election Integrity requested state voter rolls, 3,738 Colorado

voters asked to be removed from the rolls for fear that their personal information would be

made public).

       The State Defendants are not aware of any reported decision within the Fourth

Circuit in which a court ordered the disclosure of a list of registered voters under

§ 20507(i)(1). This is not a case like Project Vote/Voting for America, Inc. v. Long, 682

F.3d 331 (4th Cir. 2012), where the plaintiff sought disclosure of voter registration

applications. In that case, the Fourth Circuit held that voter registration applications were

covered by the plain language of § 8(i)(1)2 of the NVRA because election officials are

required to examine and evaluate those applications, and then register applicants that meet

the qualifications. 682 F.3d at 335. The court found this “process of review” constituted

a “program” and “activity” under § 8(i)(1) that was conducted for the purpose of

maintaining accurate voter lists. Id.




2
  Section 8(i)(1) of the NVRA is now codified at 42 U.S.C. § 20507(i)(1). At the time of
the Long opinion, § 8(i)(1) of the NVRA was codified at 42 U.S.C. § 1973gg-6(i)(1). 682
F.3d at 334-35.


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       There are other types of records that, like voter registration applications, reflect the

substantive steps Maryland takes to determine whether someone is or remains eligible to

vote. SBE has already provided Plaintiff with these records. For example, the SBE

produced audit reports from 2015 to May 2017 for each county’s list-maintenance

practices. See Declaration of Mary Cramer Wagner, director of Voter Registration and

Petition Division, Maryland State Board of Elections, attached hereto as Exhibit 3. These

audit reports reflect the results of audits conducted by SBE to ensure that local elections

officials are complying with the NVRA’s list-maintenance requirements. Id. In addition,

the SBE produced the registrar “newsletters” that SBE issues to provide guidance to local

election officials on various issues, including NVRA compliance. Id. The SBE also

produced copies of e-mail correspondence of SBE staff related to specific list-maintenance

issues. Id.

       The records provided to Plaintiff bear on the sufficiency of Maryland’s list-

maintenance program and allow Plaintiff to determine for itself whether that program

meets the requirements of the NVRA. By contrast, a list of registered voters does not

disclose any substantive information about Maryland’s list-maintenance program, or why

a particular voter is on the list and why another is not. It does not show how the agency

reviewed an application to register or how it handled situations where a registered voter

moves out of the jurisdiction, denies his or her citizenship for purposes of jury duty, or

simply asks to be removed from the list. It says nothing about how SBE or the Montgomery

County board coordinates with the National Change of Address system, other States, or

other Maryland state agencies to ensure the accuracy of its list. In short, the voter


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registration list is not a record of the implementation of a “program” or “activity” under

the NVRA; it is simply a list of names. Disclosure of the list might allow Judicial Watch

to compare the list to whatever unofficial databases and criteria it uses, but it would not

serve the NVRA’s purpose of ensuring that Maryland’s voter list-maintenance program

complies with the NVRA’s safe harbor provisions in 52 U.S.C. § 20507(c).3 Accordingly,

Plaintiff is not entitled to the list under 52 U.S.C. § 20507(i)(1).

       Because the NVRA does not mandate disclosure of voter registration lists, it does

not preempt the Maryland state-law provisions that govern access to the voter registration

list. See Elec. Law § 3-506(a); see also College Loan Corp. v. SLM Corp., 396 F.3d 588

(4th Cir. 2005); True the Vote v. Hosemann, 43 F. Supp. 3d 693, 740 (S.D. Miss. 2014)

(ruling that Mississippi law barring disclosure of voters’ personal information was not

preempted by the NVRA because the state law did not conflict with § 8(i) of the NVRA).

Accordingly, the Complaint should be dismissed.




3
  As SBE explained in its response to Plaintiff’s earlier letter, that there might be more
registered voters in Montgomery County than residents over the age of 18 does not, as
Judicial Watch contends, mean that Maryland’s list-maintenance program is somehow
flawed. First of all, Maryland law allows 16- and 17-year-olds to register to vote, so they
would appear on the registration list but not counted among the residents over the age of
18. Exhibit 1 at 5. And, as discussed above in text, the NVRA requires States to keep
voters on the rolls for up to two election cycles after they may have moved out of the
jurisdiction, with the result that it is “inevitable” that voter registration lists will include
the names of people who are no longer eligible to vote. United States v. Missouri, 2007
WL 1115204, at *4 n.7 (W.D. Mo. April. 13, 2007), aff’d in part, rev’d in part and
remanded, 535 F.3d 844 (8th Cir. 2008); see also 52 U.S.C. § 20507(d)(1).


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                                    CONCLUSION

      For all of the foregoing reasons, Plaintiff’s Complaint should be dismissed with

prejudice or, in the alternative, summary judgment should be entered in favor of the State

Defendants.


                                                Respectfully submitted,

                                                BRIAN E. FROSH
                                                Attorney General of Maryland

                                                /s/ Robert A. Scott
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September 14, 2017                              Attorneys for the State Defendants




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